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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                                  Case No. 1:97-CR-82-22

v.                                                        HON. ROBERT HOLMES BELL

CHARLES WASHPUN,

            Defendant.
____________________________________/


                           MEMORANDUM OPINION AND ORDER

       Defendant Charles Washpun has filed a motion for modification or reduction of sentence

(ECF No. 1335) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United

States Sentencing Guidelines, made retroactive by the Sentencing Commission.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

       The probation department has prepared a sentence modification report recommending no

reduction in the original sentence (ECF No. 1354). The report indicates that based on Amendment

782 the Court should not reduce a defendant’s sentence because the guideline range has not been

lowered as a result of the 2014 drug amendment. Defense counsel has filed a response to the
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sentence modification report (ECF No. 1361) and wishes to preserve the issue for future

consideration should the law change. The government has filed a response to the sentence

modification report (ECF No. 1362) and concurs with the Probation Office assessment that

Defendant is not eligible for a sentence modification pursuant to Amendment 782.

       Therefore, IT IS HEREBY ORDERED that Defendant Charles Washpun's motion for

modification of sentence (ECF No. 1335) pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.




Dated: June 23, 2015                          /s/ Robert Holmes Bell
                                              ROBERT HOLMES BELL
                                              UNITED STATES DISTRICT JUDGE
